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                                 UNITED STATES DISTRICT COURT
                                     DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                        :
                                                                :
         v.                                                     :
                                                                :
KASSIM TAJIDEEN,                                                :
also known as                                                   :
HAJ KASSIM, BIG HAJ, BIG BOSS,                                  :        Case No. 1:17-CR-00046 (RBW)
QASIM TAJIDEEN, QASSIM TAJIDEEN,                                :
KASSEM TAJIDEEN, KASSIM TAJ ALDINE,                             :
KASSIM TAJ ALDIN, KASSIM TAJ AL-DIN,                            :
KASSIM TAJ AL-DINE, and                                         :
KASSIM TAJADIN,                                                 :
                                                                :
                           Defendant.                           :


                        GOVERNMENT’S NOTICE REGARDING
                POTENTIAL CONFLICT OF INTEREST OF DEFENSE COUNSEL

         The United States of America, by and through the undersigned attorneys, hereby files

more specific notification to this Honorable Court and to conflict-free counsel from the law firm

of Zuckerman Spaeder regarding the potential conflict of interest of certain members of the

defense team currently representing the defendant. 1 Current members of the defense team,

including but not limited to Chibli Mallat of the Mallat Law Offices, as well as Ronald Meltzer

and David W. Bowker of Wilmer Cutler Pickering Hale and Dorr LLP (“WilmerHale”), may be

witnesses helpful to the defendant or the government at trial stemming from their prior

representation of the defendant in administrative proceedings with the United States Department



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  The government brought this issue to the attention of the Court and counsel at the first status hearing and identified
two possible sources of a conflict of interest. First, an advice of counsel defense might bring financial interests of
WilmerHale into conflict with appropriate representation of the defendant. Second, certain evidence the government
might seek to present at trial, or that the defendant might wish to present at trial, might lead to the necessity of
testimony from certain members of the defense team at a trial in this matter. At that time the Court indicated that it
would address the issue once the government indicated with more specificity what particular evidence it would seek
to admit at trial that might engender a conflict.

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of the Treasury’s Office of Foreign Assets Control (“OFAC”), as well as civil litigation. Further,

agents of Wilmer Cutler Pickering Hale and Dorr LLP, including but not limited to Christopher

Barbee and Sanjay Subramanian of PriceWaterhouse Coopers LLP, are also witnesses potentially

helpful to the defendant or the government at trial regarding materials prepared for the defendant

and filed with OFAC.

                                        BACKGROUND

       On May 27, 2009, OFAC issued a press release announcing that the defendant was being

designated as a Specially Designated Global Terrorist (“SDGT”) due to his significant financial

support for Hezbollah, an organization which had been designated by the State Department as a

Foreign Terrorist Organization. The designation of the defendant indicated that it was being made

pursuant to Executive Order 13224 to disrupt the operations, fundraising, and support networks of

Hezbollah by designating individuals providing support to terrorists or acts of terrorism. The

designation prohibits, inter alia, U.S. persons from knowingly participating in transactions with,

or for the benefit of the defendant without first obtaining a license from OFAC.

       On December 9, 2010, OFAC issued a similar designation of the defendant’s brothers Ali

and Hussayn Tajideen, indicating that they were the defendant’s “business partners.” Also

designated at that time were seven companies that OFAC’s press release identified as part of the

Tajideen brothers’ network. As with the earlier designation of the defendant, these designations

indicated that they sought to isolate the defendant and his businesses and business partners from

the U.S. financial and commercial systems, and barred U.S. persons or entities from doing business

with the defendant or companies under his control without first obtaining a license from OFAC.

       On July 22, 2010, the defendant filed an application with OFAC, through attorney Chibli

Mallat and another attorney seeking his removal from the SDGT list. Mr. Mallat, whom the



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government understands to be a current member of the defense team and whom has filed a pro

hac vice appearance, signed the application documents and indicated they were being submitted

on behalf of the defendant.

       On December 7, 2012, attorney Ronald Meltzer of WilmerHale forwarded a

supplemental and superseding petition seeking the defendant’s removal from the SDGT list.

Among the materials submitted was a report prepared by Christopher Barbee and Sanjay

Subramanian of PriceWaterhouse Coopers LLP. Thereafter, several quarterly reports signed by

Mr. Meltzer along with further materials were forwarded to OFAC, in furtherance of the

defendant’s petition to be removed from the SDGT list. OFAC later issued an official denial of

the defendant’s petition and notified counsel, after which Mr. Meltzer filed a second petition for

the defendant’s removal from the SDGT list, including written statements dated February 26,

2015 and May 27, 2016. Mr. Meltzer has filed an appearance on behalf of the defendant in the

instant case.

       The materials filed with OFAC, by counsel, claimed in part that the defendant’s business

network was taking significant measures to ensure that he was in compliance with OFAC

regulations, including cutting ties with his brothers, shuttering or divesting from some

companies, and other measures. However, instead of heeding the designation, the defendant

continued to conduct business with U.S. entities through a large network of businesses with ever-

changing names run by a relatively small group of personnel, effectively hiding his own

involvement in the transactions. The government’s investigation revealed that a number of

statements made by the defendant to OFAC, through counsel, are fabricated, misleading,

incomplete, or inaccurate.




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          During the course of the investigation, the government discovered several sums of

monies belonging to the defendant that appeared to be subject to seizure, and thereafter filed a

civil forfeiture complaint in United States v. Three Sums Totaling $1,207,035.31 In United States

Currency, D.D.C. 1:16-CV-0064-RBW, a case assigned to this Honorable Court. On March 7,

2016, attorney David Bowker of WilmerHale filed a claim, verified by the defendant, in that civil

action.

          On March 7, 2017, after a Drug Enforcement Administration (“DEA”) investigation

spanning a period of years, a grand jury in the District of Columbia issued an indictment charging

the defendant with, inter alia, conspiracy to defraud the United States by interfering with and

obstructing a lawful government function, that is, the enforcement of laws and regulations

prohibiting dealing with SDGTs or in blocked property without having first obtained the required

licenses from OFAC.

          As part of its discovery obligation, the government has provided the defendant with

business records and other documents in its possession that may be used as evidence against the

defendant. See Docket #18 and Docket #27. Included in these documents are:

             a. statements and other representations made in writing by the defendant which were

                 submitted to OFAC on or about July 22, 2010, by Chibli Mallat;

             b. statements and other representations made in writing on behalf of the defendant,

                 which were submitted to OFAC on or about December 7, 2012, by Ronald

                 Meltzer;

             c. statements and other representations made in writing on behalf of the defendant

                 by Christopher Barbee and Sanjay Subramanian which were submitted to OFAC

                 on or about December 7, 2012, through Ronald Meltzer;



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              d. statements and other representations made on behalf of the defendant in writing

                 which were submitted to OFAC on or about August 19, 2013, by Ronald Meltzer;

              e. statements and other representations made in writing on behalf of the defendant

                 which were submitted to OFAC on or about April 28, 2014, by Ronald Meltzer;

              f. statements and other representations made in writing on behalf of the defendant to

                 the United States Drug Enforcement Administration on or about October 20,

                 2015, and hand delivered by WilmerHale;

              g. statements and other representations made in writing on behalf of the defendant to

                 this Honorable Court in United States v. Three Sums Totaling $1,207,035.31 In

                 United States Currency, D.D.C. 1:16-CV-0064-RBW, on or about March 7, 2016,

                 as represented by David W. Bowker.

                          DESCRIPTION OF POTENTIAL CONFLICT

       Potential areas of conflict identified to date by the government fall into three distinct

categories.

       First, the government plans to prove some of the overt acts in furtherance of the

defendant’s conspiracy to defraud the United States by showing that the defendant made false

statements in writing to OFAC in an attempt to justify his removal from the Specially Designated

Global Terrorist list, often through defendant’s OFAC counsel. The government plans to

authenticate and submit those written statements into evidence through stipulations from the

defendant or, if he refuses, through a custodian of records who would testify that OFAC received

the materials. The government will then prove their falsity using evidence gathered during the

government’s investigation.




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       Second, the government plans to use one or more filings made on behalf of the defendant

during the course of civil litigation and filed by one or more of defendant’s OFAC counsel, to

prove facts relevant to the charges against the defendant. The government plans to submit copies

of said filings as evidence.

       Finally, the government will seek to admit written training materials prepared by one or

more of defendant’s OFAC counsel for employees of the defendant that were later submitted to

OFAC. The government again anticipates authenticating and submitting the documents through a

stipulation from the defense or through a custodian of records from OFAC.

       The government’s submission of this documentary evidence of statements by the

defendant, often made through counsel, raises numerous potential issues. The materials at issue

may give rise to an advice of counsel defense, to a post-trial claim of ineffective assistance of

counsel, to a suit seeking damages by the defendant against defendant’s OFAC counsel, or other

issues. These possibilities may pit the financial interests of Chibli Mallat or WilmerHale against

those of the defendant, or may lead to a mistrial or a retrial. The submissions might lead the

defendant to seek testimony from defense counsel or defense counsel’s agents in order to

respond to the government’s arguments regarding the documents’ contents. Such testimony

might not be forthcoming, might not be appropriate, or might engender a motion to withdraw as

counsel from one or more members of the defense team.

       Specifically, the government’s review of the evidence indicates that Chibli Mallat,

employees of WilmerHale, or agents of WilmerHale, (“defendant’s OFAC counsel”) are

witnesses at least to the following facts:

           a. the defendant had notice of the defendant’s designation as a Specially Designated

               Global Terrorist, as revealed by the existence of filings made to OFAC by



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                 defendant’s OFAC counsel, which the government intends to submit into

                 evidence;

             b. the defendant owned or controlled certain business entities, 2 as evidenced by

                 filings to this Honorable Court in United States v. Three Sums Totaling

                 $1,207,035.31 In United States Currency, D.D.C. 1:16-CV-0064-RBW, made by

                 one or more of defendant’s OFAC counsel, which filings the government intends

                 to use as evidence;

             c. the defendant and his companies attempted to conduct business in violation of the

                 OFAC designation by attempting to send wire transfers of funds through the U.S.

                 financial system, and the defendant received notice that the aforementioned

                 attempted wire transfers were blocked at certain financial institutions after the

                 defendant’s designation, as revealed in filings to this Court in United States v.

                 Three Sums Totaling $1,207,035.31 In United States Currency, D.D.C. 1:16-CV-

                 0064-RBW made by one or more of defendant’s OFAC counsel, which the

                 government intends to use as evidence;

             d. the defendant’s co-conspirators and employees received in-person training

                 prepared by members of WilmerHale about compliance with U.S. sanctions law,

                 including laws enforced by OFAC, as revealed by a filing made by one or more of

                 defendant’s OFAC counsel to OFAC, which the government intends to submit

                 into evidence;

             e. the defendant, through one or more of defendant’s OFAC counsel, made

                 affirmative misrepresentations to OFAC regarding the defendant’s continued


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 The government’s evidence will show that these certain business entities engaged in unlicensed transactions with
U.S. entities after the defendant’s designation.

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    business dealings with his brother, an SDGT, as revealed by filings made to

    OFAC by the defendant’s OFAC counsel, which the government intends to

    submit into evidence;

 f. the defendant, through one or more of defendant’s OFAC counsel, made

    affirmative misrepresentations to OFAC regarding the scope of the defendant’s

    business dealings as revealed by filings made to OFAC by one or more of

    defendant’s OFAC counsel, which the government intends to submit into

    evidence; for example, in a filing by one or more of defendant’s OFAC counsel,

    the defendant misrepresented the countries in which companies under the

    defendant’s direction or control were doing business;

 g. the defendant, through one or more of defendant’s OFAC counsel, made

    affirmative misrepresentations to OFAC regarding his personal information, as

    revealed by one or more filings made to OFAC by one or more of defendant’s

    OFAC counsel which the government intends to submit into evidence;

 h. the defendant, through one or more of defendant’s OFAC counsel, made

    affirmative misrepresentations to OFAC regarding his control of, or involvement

    in, various business entities, as revealed by one or more filings made to OFAC by

    one or more of defendant’s OFAC counsel, which the government intends to

    submit into evidence;

 i. the defendant withheld material information regarding his business holdings from

    defendant’s OFAC counsel and their agents, including PriceWaterhouse Coopers

    LLC, as revealed by one or more filings made to OFAC by one or more of




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               defendant’s OFAC counsel, which the government intends to submit into

               evidence.


       The Government respectfully submits the foregoing to apprise the Court and conflict-free

counsel of potential conflicts of interest, so that they may make any appropriate inquiries or

representations.

                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              UNITED STATES ATTORNEY


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